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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 BRIAN LUCAS, ARONZO DAVIS,                             )
 TORRENCE VAUGHANS, JOE EAGLE and                       )
 MICHAEL KEYS, on behalf of themselves and              )
 similarly situated job applicants,                     )
                                                        )
                                        Plaintiffs,     )
                                                        )
    v.                                                  ) No. 12 C 9672
                                                        )
 VEE PAK, INC., STAFFING NETWORK                        ) Judge Tharp
 HOLDINGS, LLC, PERSONNEL STAFFING                      )
 GROUP, LLC d/b/a MOST VALUABLE                         ) Magistrate Judge Keys
 PERSONNEL d/b/a MVP and ALTERNATIVE                    )
 STAFFING, INC. d/b/a ASI,                              )
                                                        )
                                         Defendants.    )

DEFENDANT VEE PAK, INC.’S RULE 12(b)(6) MOTION TO DISMISS THE THIRD
              AMENDED CLASS ACTION COMPLAINT

         Defendant, VEE PAK, INC. (“Vee Pak”), by its attorneys, DONALD S.

ROTHSCHILD and BRIAN M. DOUGHERTY of GOLDSTINE, SKRODZKI, RUSSIAN,

NEMEC AND HOFF, LLTD., submits its RULE 12(b)6) MOTION TO DISMISS THE

THIRD AMENDED CLASS ACTION COMPLAINT, and states as follows:

         1.    Plaintiffs filed their Third Amended Class Action Complaint (“Complaint”)

[Dkt. 45] sounding in six counts against Vee Pak and the other defendants. The Complaint

alleges that racial discrimination, under a “failure to hire” theory, arising under Title VII of the

Civil Rights Act of 1964, as amended, and 42 U.S.C. § 1981.

         2.    Vee Pak moves to dismiss the Complaint in its entirety since (i) Plaintiffs have

failed to plead plausible claims; (ii) there are no facts supporting direct, vicarious, “joint

employer” or “single employer” liability; and (iii) Vee Pak owes no affirmative duty of care to
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prevent any alleged discrimination by the employment agencies against an unknown class of

temporary workers.

       3.      Additionally, Count II of the Complaint must be dismissed since the “adverse

impact” (or “disparate impact”) theory was not contained in any of the EEOC Charges and this

new “disparate impact” theory is not reasonably related to the “disparate treatment” theory.

Alternatively, Count II must be dismissed since there are no plausible facts to sustain a direct

hiring, “single employer” or “joint employer” theory of liability against Vee Pak.

       WHEREFORE, Defendant, VEE PAK, INC., respectfully requests that this Court enter

an order dismissing it from the Third Amended Class Action Complaint with prejudice and

awarding all other relief this Court deems equitable and just.



                                                     Respectfully submitted,

                                                     VEE PAK, INC.,


                                                     By: /s/ Donald S. Rothschild
                                                             One of Its Attorneys


Donald S. Rothschild
Brian M. Dougherty
Goldstine, Skrodzki, Russian,
Nemec and Hoff, Ltd.
835 McClintock Drive, Second Floor
Burr Ridge, IL 60527
(630) 655-6000
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                              CERTIFICATE OF SERVICE

        I, Donald S. Rothschild, an attorney, certify that I served a copy of Defendant Vee
Pak, Inc.’s Rule 12(b)(6) Motion to Dismiss the Third Amended Class Action Complaint,
filed with the United States District Court, via CM/ECF, on all registered users, on this 28th
day of June, 2013.



                                                          /s/ Donald S. Rothschild
                                                      Attorney for Defendant Vee Pak, Inc.
